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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

 --------------------------------                 X
                                                  :
 EUGENIA II INVESTMENT                            :
 HOLDINGS LIMITED (BVI),                          :
                                                  :
                           Plaintiff,             :
                                                  :
                 v.                               :      Case No. 2:20-cv-00843-JLB-
                                                  :                            NPM
 ANTHONY BELISLE,                                 :
                                                  :
                           Defendant.             :
                                                  :
 --------------------------------                 X


       AGREED MOTION TO EXTEND BY 14 DAYS THE DEADLINE
          TO ADD OR JOIN PARTIES OR AMEND PLEADINGS

      Defendant Anthony Belisle hereby moves the Court to extend the deadline to

add or join parties or amend pleadings, currently set for May 3, 2021 by this Court’s

April 19 Order (Doc. No. 43), by 14 days, to May 17, 2021.

      The Court previously extended the deadline to add or join parties or amend

pleadings from April 19, 2021 to May 3, 2021. Doc. No. 43. Counsel for Plaintiff

and counsel for Defendant have conferred since that time, and have together

concluded that they require an additional, brief extension in order to determine

whether to add additional parties in this litigation. The proposed two-week

extension to the deadline to add or join parties or amend pleadings will not affect the
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other deadlines set by the Court’s Scheduling Order. See Doc. No. 40. Plaintiff

agrees to this Motion.

      WHEREFORE, Defendant, with the agreement of Plaintiff, respectfully

requests that the Court extend the deadline to add or join parties or amend pleadings

by two weeks, from the current deadline of May 3, 2021 to May 17, 2021.


Dated: April 27, 2021                      Respectfully Submitted,

                                           ANTHONY BELISLE,

                                           By his attorneys,

                                           /s/ Joan A. Lukey
                                           Joan A. Lukey, Esq. (Specially
                                           Admitted)
                                           jlukey@choate.com
                                           Justin J. Wolosz (Specially Admitted)
                                           jwolosz@choate.com
                                           CHOATE, HALL & STEWART LLP
                                           Two International Place
                                           Boston, MA 02110
                                           Tel.: (617) 248-5000
                                           Fax: (617) 248-4000

                                           Rodney S. Margol (Fla. Bar. No.
                                           225428)
                                           rodney@margolandmargol.com
                                           MARGOL & MARGOL, P.A.
                                           2029 North 3rd St.
                                           Jacksonville Beach, FL 32250-7429
                                           Tel.: 904-355-7508
                                           Fax: 904-619-8741




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                       Local Rule 3.01(g) Certification

On April 27, 2021, Justin Wolosz, counsel for Defendant, conferred with Nathan
Roberts, counsel for Plaintiff Eugenia Investment Holdings Ltd. (BVI), and
Plaintiff agrees to the relief sought herein




                         CERTIFICATE OF SERVICE
I, Joan A. Lukey, attorney for the Defendant, Anthony Belisle, hereby certify that
this document filed through the ECF system will be served electronically to the
registered ECF participants as identified on the Notice of Electronic Filing (NEF).



                                             /s/ Joan A. Lukey




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